                 Case 3:20-cv-01470-SB      Document 1      Filed 08/27/20      Page 1 of 7




Clifford S. Davidson, OSB No. 125378
csdavidson@swlaw.com
Raminta A. Rudys, OSB No. 066806
rrudys@swlaw.com
SNELL & WILMER L.L.P.
One Centerpointe Drive, Suite 170
Lake Oswego, OR 97035
Telephone: (503) 624-6800
Facsimile: (503) 624-6888

Attorneys for Plaintiff

                                 UNITED STATES DISTRICT COURT

                                       DISTRICT OF OREGON

                                        PORTLAND DIVISION

TEFINCOM S.A. d/b/a NordVPN, a Panama                      Case No. 3:20-cv-1470
corporation,

                    Plaintiff,                             COMPLAINT
                                                           For false advertising and unfair
          vs.                                              competition in violation of
                                                           15 U.S.C. § 1125(a)
KEVIN VADALA a/k/a Tom Spark, an
individual,

                    Defendant.

                                           INTRODUCTION
          1.        Plaintiff Tefincom S.A. d/b/a NordVPN (“Plaintiff” or “NordVPN”) sues Kevin

Vadala, who creates YouTube videos and other Internet content using the name Tom Spark

(“Defendant” or Vadala”), to stop his violations of the Lanham Act and to seek damages.

          2.        Vadala purports to be an objective virtual private network (“VPN”) industry expert

who publishes “unbiased” reviews on the Internet, including on his and others’ websites and on

YouTube. In reality, Vadala is heavily compensated for referrals from various VPNs whose


                                                                                    Snell & Wilmer
Page 1 – COMPLAINT                                                           One Centerpointe Drive Ste 170
4838-1065-4149                                                                Lake Oswego, Oregon 97035
                                                                                     503.624.6800
                 Case 3:20-cv-01470-SB       Document 1       Filed 08/27/20      Page 2 of 7




products he hawks and with whom NordVPN competes. Vadala does not properly disclose his

compensation arrangements with the VPN providers, rendering his advertisements on their behalf

false and misleading under the Lanham Act. Furthermore, Vadala’s advertisements are false and

misleading because they contain false assertions of fact or falsely imply undisclosed facts.

                                                 PARTIES

          3.        NordVPN is an entity organized and existing under the laws of the Republic of

Panama.

          4.        Vadala is a citizen of the State of Oregon and resides in either Portland or

Beaverton. Online, he uses the name and persona “Tom Spark.”

                                     JURISDICTION AND VENUE
          5.        The Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 and 15 U.S.C. § 1121(a) because NordVPN’s claims arise under 15 U.S.C. § 1125(a), the

Lanham Act.

          6.        The Court has personal jurisdiction over Vadala because he is a citizen of the State

of Oregon.

          7.        Venue is proper in this District, and in the Portland Division, pursuant to 28 U.S.C.

§ 1391(b) and LR 3-2(a)(1), because Vadala resides in either Washington County, Oregon or

Multnomah County, Oregon, and a substantial part of the events or omissions giving rise to this

lawsuit occurred there.

                         FACTS COMMON TO ALL CLAIMS FOR RELIEF

          8.        NordVPN is one of the most trusted online VPN security solutions and has over 12

million users worldwide. VPNs provide a way to securely access apps, websites and entertainment

platforms. VPNs prevent third parties, including Internet Service Providers (“ISPs”), from seeing

or monitoring online activity, and enable users to change their IP addresses and redirect their

connections to the Internet using remote servers.
                                                                                      Snell & Wilmer
Page 2 – COMPLAINT                                                             One Centerpointe Drive Ste 170
4838-1065-4149                                                                  Lake Oswego, Oregon 97035
                                                                                       503.624.6800
                 Case 3:20-cv-01470-SB       Document 1        Filed 08/27/20      Page 3 of 7




          9.        NordVPN is thought to be one of the largest (if not the largest) VPN providers.

NordVPN offers military-grade encryption with advanced privacy solutions to ensure that users

have secure access to online resources.

          10.       Vadala purports to be an “objective” VPN reviewer. He “reviews” VPNs on his

websites (www.vpntierlist.com, www.best10vpn.com), his YouTube channel (Tom Spark

Reviews), and his Internet posts (including his posts as “newslooter” on the Reddit Subreddit

r/virtualprivatenetwork and his posts on Discord).

          11.       For example, on his website www.vpntierlist.com, Vadala purports to offer
“objective non-sponsored” reviews of various VPNs. Vadala states that “[m]ost other VPN

reviewers on YouTube or the internet are paid shills bought off by VPN companies and high

commission rates. You won’t find that here.” See www.vpntierlist.com.

          12.       But Vadala is no different than the shills he calls out.

          13.       Vadala purports to rank several VPN providers, including but not limited to

TorGuard and NordVPN. See https://www.vpntierlist.com/vpn-tier-list/. Vadala ranks TorGuard

in his “TIER 1 Gold Tier,” doling out a 4.90 (out of 5.0) ranking to TorGuard. Id. NordVPN, in

contrast, is listed in the “TIER 3 (Below Average Tier),” with a “score” of only 2.5. Id. While

Vadala states that he has “rated over 50+ VPN providers within the last year by rating their pricing,

applications, speed, reputation, customer support, and streaming compatibility,” see

https://www.vpntierlist.com/, nowhere does he disclose the purported methodology he uses to

“rate” a VPN provider’s “pricing, applications, speed, reputation, customer support, and streaming

compatibility.”

          14.       That is because Vadala’s rankings are little more than a thinly veiled effort to drive

traffic to his favored VPN companies. His motive for doing so is simple: he gets paid when

customers purchase those VPN companies’ products after following links from Vadala’s sites and

videos. One VPN company Vadala promotes, TorGuard, has gone so far as to issue a 50% discount
                                                                                       Snell & Wilmer
Page 3 – COMPLAINT                                                              One Centerpointe Drive Ste 170
4838-1065-4149                                                                   Lake Oswego, Oregon 97035
                                                                                        503.624.6800
                 Case 3:20-cv-01470-SB     Document 1      Filed 08/27/20      Page 4 of 7




code “TOMSPARK,” Vadala’s Internet persona, that new TorGuard customers may use when

purchasing TorGuard products—as Vadala has announced in his YouTube videos. See, e.g.,

https://www.youtube.com/watch?v=y6zUtEKxynU at timestamp 1:10 to 01:30 (accessed Aug. 26,

2020). NordVPN is informed and believes, and on that basis alleges, that Vadala receives payments

or other items of value when customers use that discount code.

          15.       Vadala does not disclose his financial arrangements with VPN companies on his

website’s homepage or rankings page. Although he states on his YouTube channel (at the very

bottom of a dropdown menu that visitors do not need to click on to watch his videos) that he is

“affiliated” with some unspecified VPNs, he does not disclose his financial arrangements and

certainly does not do so conspicuously.1
          16.       Vadala’s failure to disclose his monetary incentives—clearly and conspicuously—

violates the endorsement guidelines issued by the Federal Trade Commission. While those

guidelines are not actionable in-and-of themselves, federal courts look to them to define an unfair

or deceptive practice in the context of Lanham Act claims.

          17.       Vadala consistently rates NordVPN poorly—because NordVPN’s competitors pay

him to.

1
  Vadala does have a “FAQ” page. See https://www.vpntierlist.com/faq/. He leads the “FAQ” with
the “Question” of “Why trust Tom Spark for his VPN Reviews?” followed by the “Answer”: “I
have been reviewing VPNs since 2015, and I’ve always done it by myself. Lots of ‘VPN review’
sites or YouTube channels are run by VPN companies or marketing companies just trying to make
a quick buck. I’ve been doing it solo this entire time, which makes it easier for you to understand
who is reviewing the VPN and how I form my opinions.” Id. Only then does Vadala provide a
cryptic reference to actually being paid by the companies he reviews: “I make money through
affiliations, which means when you click a link, I make a small cutback—usually between 20-
30%.” Id. But then, incredibly, Vadala follows this up with the statement that he does not “work
for VPN companies like TorGuard.” Id. Vadala’s (buried) purported “disclosure” of being paid
through “affiliations,” especially when coupled with his claim to be “objective” and to not to work
for companies like TorGuard that he promotes, is wildly insufficient to save him from a false
advertising claim. In other public statements, Vadala has claimed that he is “in no way connected
to” TorGuard.
                                                                                   Snell & Wilmer
Page 4 – COMPLAINT                                                          One Centerpointe Drive Ste 170
4838-1065-4149                                                               Lake Oswego, Oregon 97035
                                                                                    503.624.6800
                 Case 3:20-cv-01470-SB       Document 1       Filed 08/27/20      Page 5 of 7




           18.      Furthermore, Vadala repeatedly has accused NordVPN of illegal and untoward

conduct. For example, he has accused NordVPN of blackmailing one of NordVPN’s competitors,

“using botnet software,” telling NordVPN’s customers’ ISPs what the customers did “while

torrenting,” “giv[ing] virus[es],” “doxing” Vadala, using “fraudulent” servers, “paying for

downvotes” on Vadala’s YouTube videos, and “leaking” the credentials of NordVPN users. All of

these allegations, which are presented as facts by someone who claims to have evaluated the

product and to have inside knowledge, are false.

           19.      Taking Vadala at his word, he has evaluated NordVPN’s product and therefore

knows or should know that his statements of purported fact are false.

           20.      NordVPN has suffered injury based on Vadala’s conduct. Numerous comments on

Vadala’s websites, YouTube channel, Discord channel and/or subreddit indicate that customers

who were considering purchasing NordVPN did not do so based on Vadala’s comments.

Furthermore, NordVPN has suffered reputational injury, cognizable under the Lanham Act, based

on Vadala’s false statements.

                                      FIRST CLAIM FOR RELIEF
                                     (Violation of 15 U.S.C. § 1125(a))

           21.      Plaintiff incorporates the foregoing allegations by reference as though set forth here

in full.

           22.      As described above, Vadala made one or more false statements of fact in a

commercial advertisement about a product in that he (a) failed to disclose that he is compensated

based on traffic to, and purchases of, certain VPNs, and (b) made false or misleading statements

about NordVPN and its product.

           23.      The statement(s) actually deceived or had the tendency to deceive a substantial

segment of Vadala’s audience, as evidenced by the comments on the Vadala’s websites, YouTube

channel, Discord channel and/or Subreddit.
                                                                                      Snell & Wilmer
Page 5 – COMPLAINT                                                             One Centerpointe Drive Ste 170
4838-1065-4149                                                                  Lake Oswego, Oregon 97035
                                                                                       503.624.6800
                 Case 3:20-cv-01470-SB       Document 1       Filed 08/27/20      Page 6 of 7




          24.       The deception is material in that it is likely to influence the decision to purchase

NordVPN, and in that it already has influenced Internet users’ decision of whether to purchase

NordVPN.

          25.       Vadala caused his false statements to enter interstate commerce, or he used an

instrumentality of interstate commerce to transmit them.

          26.       NordVPN has been, and is likely to be, injured as a result of the false statements

and failure to meaningfully disclose his financial arrangements with the VPNs he purports to

“objective[ly]” rate.



          WHEREFORE, NordVPN requests the following relief:

          A.        Damages according to proof, including Defendants’ ill-gotten gains, Plaintiff’s

                    reputational harm, Plaintiff’s lost profits, and for corrective advertisements;

          B.        An award of three-times Plaintiff’s actual damages according to proof;

          C.        Injunctive relief including (1) the prohibition of further false or misleading

                    advertising, (2) the removal of false and misleading advertisements, and/or (3)

                    requiring Vadala to disclose—immediately beneath and/or in any YouTube video,

                    or conspicuously on the homepage of any website on which Vadala rates or

                    evaluates VPNs—that Vadala may earn monetary incentives if visitors purchase

                    goods or services using the links provided on Vadala’s sites;

          D.        An award of NordVPN’s costs, attorney’s fees, and expenses;

          E.        An award of pre-judgment and post-judgment interest on the damages awarded at

                    the highest rates allowed by law; and

          ///

          ///

          ///
                                                                                      Snell & Wilmer
Page 6 – COMPLAINT                                                             One Centerpointe Drive Ste 170
4838-1065-4149                                                                  Lake Oswego, Oregon 97035
                                                                                       503.624.6800
                 Case 3:20-cv-01470-SB       Document 1      Filed 08/27/20      Page 7 of 7




          C.        Such other and further relief as the Court deems just or necessary.



Dated: August 27, 2020                                    SNELL & WILMER L.L.P.

                                                  By /s/ Clifford S. Davidson
                                                  Clifford S. Davidson, OSB No. 125378
                                                  Raminta A. Rudys, OSB No. 066806

                                                  Attorneys for Plaintiff




                                                                                     Snell & Wilmer
Page 7 – COMPLAINT                                                            One Centerpointe Drive Ste 170
4838-1065-4149                                                                 Lake Oswego, Oregon 97035
                                                                                      503.624.6800
